The relief described hereinbelow is SO ORDERED.

SIGNED this 2nd day of November, 2018.




_________________________________________________________________________




                        UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF KANSAS

 In Re:                                       )
                                              )            Case No. 18-20838-7 RDB
 SAMANTHA MARIE RUIZ                          )
                                Debtor.       )

  ORDER GRANTING TRUSTEE’S APPLICATION; AUTHORIZING AND APPROVING
   THE TRUSTEE’S EMPLOYMENT OF TRICE MASSEY, A MEMBER OF GREATER
      KANSAS CITY REALTY, AND APPROVING THE LISTING AGREEMENT
                      FOR SALE OF REAL PROPERTY

          NOW the above-captioned matter comes before this Court upon the Application of the

Chapter 7 Trustee, Christopher Redmond, by and through his counsel, pursuant to 11 U.S.C. §327,

requesting approval and authority to employ the professional services of Trice Massey, a member

of Greater Kansas City Realty, for the sale of real property in this matter. The Trustee filed the

Application on September 26, 2018 (Doc# 22), together with a Notice (Doc# 23), which provided

for an objection deadline of October 17, 2018. To date, no objections or responses have been filed




                                                                                       1|Page

                  Case 18-20838      Doc# 26      Filed 11/02/18   Page 1 of 4
with the Court in this matter, nor have any objections or responses been served upon the Trustee

or his counsel.

       The Court, having jurisdiction herein, finds as follows:

       1.   The Applicant is the duly qualified and acting Chapter 7 Trustee of the bankruptcy

            estate of Samantha Marie Ruiz .

       2. Trice Massey, a member of Greater Kansas City Realty, (jointly referred to hereafter

            as “Real Estate Professional”) has the expertise and knowledge to assist the Chapter 7

            trustee with the listing and sale of real property known as 4905 Douglas Ave, Kansas

            City, Kansas, 66106 (the “Real Property”).

       3. The Real Property is not the Debtor’s homestead and no exemption has been claimed

            by the Debtor as to this Real Property, nor has anyone claimed an exemption of the

            Real Property on behalf of the Debtor or on behalf of any party.

       4. The Debtor’s former spouse, Vincent Ivy, also held an ownership interest in the subject

            Real Property, and on September 5, 2018, Vincent Ivy executed a Quit Claim Deed to

            Christopher J. Redmond, Trustee of the Bankruptcy Estate of Samantha Marie Ruiz.

            The bankruptcy estate now holds the undivided interest in and to the subject Real

            Property.

       5. The Chapter 7 Trustee desires to employ Real Estate Professional to provide

            professional services on behalf of this bankruptcy estate for the listing and sale of the

            Real Property identified hereinabove, in which the above-named Debtor holds an

            interest. The Real Estate Professional is requesting a commission of two percent (2%)

            of the gross sale proceeds. All fees and expenses will be presented to the Court for

            approval prior to payment.



                                                                                          2|Page

                  Case 18-20838       Doc# 26     Filed 11/02/18      Page 2 of 4
       6. Attached to the Application as Exhibit “A” was the duly executed and verified

           statement on behalf of the Real Estate Professional that their employees and members

           are disinterested persons, as the term is used in the Bankruptcy Code, do not hold an

           interest adverse to the bankruptcy estate, is not aware of any connection with the

           Debtor, creditors, any other party in interest, their respective attorneys or accountants,

           the United States Trustee or any person employed in the Office of the United States

           Trustee and understand there is a continuing duty to disclose any such adverse interest.

       7. Notice of this Application was served upon the Office of the United States Trustee,

           Debtor’s counsel, Debtor and all parties of interest in this matter.

       8. Attached to the Application as Exhibit “B” was a copy of the Listing Agreement and

           the Chapter 7 Trustee requested that the Court approve this Agreement and authorize

           the Chapter 7 Trustee’s execution of the same on behalf of this bankruptcy estate.

       9. BK Global Real Estate Services (“BK Global”) has been retained by the Chapter 7

           Trustee and BK Global has agreed to fully cooperate with the Real Estate Professional,

           and to be paid the real estate commission agreed to by the Secured Creditor.

       10. Nationstar Mortgage dba Mr. Cooper claims a mortgage interest in and to the Real

           Property known as 4905 Douglas Ave, Kansas City, KS 66106 and has consented to

           the sale of the Real Property subject to their security interest.

       The Court, having reviewed the file herein and being fully advised, finds that good cause

exists to grant the Trustee’s Application and for the entry of this Order.

       IT IS, THEREFORE, BY THE COURT ORDERED that the Notice provided by the

Trustee on the Application to Retain Trice Massey of Greater Kansas City Realty was due, proper

and sufficient, and no further or additional notice is necessary or required.



                                                                                          3|Page

                 Case 18-20838        Doc# 26      Filed 11/02/18      Page 3 of 4
       IT IS BY THE COURT FURTHER ORDERED that the Application filed herein by the

Chapter 7 Trustee on September 26, 2018 (Doc # 22), is hereby APPROVED and the Chapter 7

Trustee is hereby AUTHORIZED to retain Trice Massey of Greater Kansas City Realty in this

case for the listing and sale of the Real Property known as 4905 Douglas Ave., Kansas City,

Kansas, 66106, and the compensation arrangements set forth in the listing agreement and this

application, pursuant to Sections 327, 328(a) and 330 of the Bankruptcy Code are hereby

APPROVED.

       IT IS BY THE COURT FURTHER ORDERED that the proposed Real Estate Listing

Agreement is hereby APPROVED and the Chapter 7 Trustee is hereby AUTHORIZED to execute

the same on behalf of this bankruptcy estate as he deems appropriate.

       IT IS SO ORDERED.

                                              ###




SUBMITTED BY:




s/ Christopher J. Redmond
CHRISTOPHER J. REDMOND, KS BAR #7307
REDMOND LAW FIRM, LLC
6731 W. 121st Street, Suite 226
Overland Park, Kansas 66209
Telephone: (913) 312-5675
Fax: (913) 312-5841
christopher.redmond@christopherredmondlawfirm.com

ATTORNEY FOR CHAPTER 7 TRUSTEE




                                                                                  4|Page

                 Case 18-20838      Doc# 26     Filed 11/02/18     Page 4 of 4
